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                           IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF ARKANSAS
                                   TEXARKANA DIVISION


UNITED STATES OF AMERICA                                                          RESPONDENT

v.                                    Case No. 4:11-cr-40037-006
                                            4:14-cv-4068

MARCUS SIMS                                                                            MOVANT

                                                ORDER

        Before the Court is the Report and Recommendation filed May 28, 2015 by the Honorable

Barry A. Bryant, United States Magistrate Judge for the Western District of Arkansas. (ECF No.

1531). Judge Bryant recommends that Defendant’s Motion for Summary Judgment be denied.

Defendant has filed Objections to the Report and Recommendations. (ECF No. 1584). The Court

finds this matter ripe for its consideration.

        On September 14, 2011, Sims was one of 66 defendants named in an indictment in this Court.

(ECF No. 1). He entered a plea of guilty. (ECF No. 1087). On October 29, 2013, this Court

sentenced Sims to 97 months imprisonment, six years of supervised release, and a $100 special

assessment. (ECF No. 1269). His sentence was later reduced to 78 months imprisonment pursuant

to amendments to the USSG. (ECF No. 1439). On April 28, 2014, he filed a timely Motion to Vacate,

Set Aside, or Correct Sentence under 28 U.S.C. § 2255. (ECF No. 1319). Judge Bryant recommended

that the Motion be denied, and the Court adopted Judge Bryant’s Report and Recommendation. (ECF

No. 1519). The instant Motion for Summary Judgment was filed April 30, 2015. (ECF No. 1517).

        Judge Bryant recommends the Court find that the Motion for Summary Judgment moot, as it

contains the same issues which were raised in Defendant’s Section 2255 Motion. Defendant objects,

arguing that he was deprived due process because Judge Bryant previously prosecuted him and that

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he was denied due process because of delay. These arguments are reiterations of his arguments already

ruled upon by the Court. Plaintiff has failed to address Judge Bryant’s rationale, and he has failed to

direct the Court to any specific portions of the Report and Recommendation that he finds

objectionable. See Belk v. Purkett, 15 F.3d 803 (8th Cir. 1994).

       Accordingly, for the reasons stated in the Report and Recommendation of Judge Bryant (ECF

No. 1470), Defendant’s Motion for Summary Judgment (ECF No. 1517) should be and hereby is

DENIED. The Report and Recommendation is adopted in toto.

       IT IS SO ORDERED, this 16th day of December, 2015.


                                                               /s/ Susan O. Hickey
                                                               Susan O. Hickey
                                                               United States District Judge




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